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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-2058

   v.                                                      Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 626                                   Relaxing Store
                 525                          Make Your Meaning Funy Store
                 573                                Nevergrow old Store
                 510                               love city love life6868
                 176                          A beautiful world emarket6699
                 668                                 Shop3092029 Store
                 740                                 Teddys Bears Store
                 417                                     Hodor Store
                 441                          International home garden store
                 259                                  BlueHome Store
                 432                                    IHONG Store
                 673                                 Shop3878130 Store
                 725                                     Sundy Store
                 730                               Super sweetheart store
                 327                              Elegant Poetry Art Store
                 437                                     iMon Store
                 337                                Ethnic Clothing Store
                 338                                  EthnicScarf Store
                 311                            delivery to worldwide Store
                 392                             HANDANWEIRAN Store
                 511                                  Love in Shopping
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                445                                 ISNOW Decor Store
                513                                     Love Painting
                596                                     Painting Stores
                635                              Sconedia Art Printing Store
                674                                  Shop3990036 Store
                376                                    Good Deal Store
                793                                  YAZI Factory Store
                316                               DJ Dance Costume Store
                757                           Two girls one dream E-afford Store
                257                          BLINGIRD ZM Poster Painting Store
                179                                ACE's Shopping Center
                637                                      Senha Store
                610                                Princess jewelrys Store
                242                             BARGAIN HUNTERS Store
                363                                   Frank's Shop Store
                221                                 AWOO Official Store
                405                                 H-a-p-p-y- Life Store




DATED: June 23, 2019                                  Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
                                                      Telephone: 708-203-4787
                                                      E-mail: keith@vogtip.com


                                                      ATTORNEY FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 23, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
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